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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION

 AMERICAN CLOTHING EXPRESS, INC.,             Case No. 2:20-cv-02007-SHM-dkv
 D/B/A ALLURE BRIDALS AND JUSTIN
 ALEXANDER, INC.,                             MOTION FOR LEAVE TO SERVE PROCESS
                                              BY SUBSTITUTED SERVICE
 Plaintiffs,

 v.

 CLOUDFLARE, INC. and DOES 1 - 200,
 inclusive,

 Defendants.


 CLOUDFLARE, INC.

 Counterclaimant,

 v.

 AMERICAN CLOTHING EXPRESS, INC.,
 D/B/A ALLURE BRIDALS AND JUSTIN
 ALEXANDER, INC.,

 Counterdefendants.




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        Plaintiffs-Counterdefendants American Clothing Express, Inc. d/b/a Allure Bridals and

 Justin Alexander, Inc. (collectively, “Plaintiffs”), pursuant to Fed. R. Civ. P. Rule 4(f)(3),

 respectfully move this Court for an order granting Plaintiffs: 1) leave to serve ninety-six Infringing

 Website Defendants by emailing a copy of the Summonses and Complaint to the email addresses

 identified in Exhibit 1 to the Declaration of Russell Bogart; and 2) any such other and further relief

 as the Court deems just and proper. In further support of this Motion, Plaintiffs are filing an

 accompanying Memorandum of Law, Declaration of Russell Bogart, dated August 29, 2020, and

 the exhibits thereto, Declaration of Adam Wilson, dated August 29, 2020, contemporaneously

 herewith.

 DATED: October 29, 2020

                                                       Respectfully submitted,

                                                       s/ Nicole D. Berkowitz
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                                                      Attorneys for Plaintiffs-Counterdefendants
                                                      American Clothing Express, Inc. d/b/a Allure
                                                      Bridals and Justin Alexander, Inc.


                             CERTIFICATE OF CONSULTATION

        I hereby certify that counsel for Plaintiffs consulted with counsel for Cloudflare, Inc.
 regarding the relief sought herein, and counsel for Cloudflare, Inc. indicated that Cloudflare, Inc.
 does not take a position on this Motion.


                                                       s/ Nicole D. Berkowitz
                                                       Nicole D. Berkowitz


                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 29, 2020, a true and correct copy of the foregoing was filed
 via the Court’s CM/ECF system. Notice of this filing will be sent by operation of the Court’s
 electronic filing system to all counsel of record.


                                                       s/ Nicole D. Berkowitz
                                                       Nicole D. Berkowitz




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